Case 1:22-cr-00240-AKH Document 168-28 Filed 03/22/24 Page 1 of 2




                    Exhibit Z
             Case 1:22-cr-00240-AKH Document 168-28 Filed 03/22/24 Page 2 of 2


    From: Tomita, William
    Sent: Tuesday, January 06, 2009 9:39 PM
    To: Halligan, Patrick
    Cc: Park, Raymond
    Subject: CCB w/ CS
    Pat,

    I think it will be a l.ot less suspicious w/ CS to convert from swap to cash at CS PB (assuming HK shorts are OK to settle
    there), than transferring it away. I know we were adverse to this· as we have not settled any trades there before. Let us
    know what you think.
    Thx,
    Will




                                                                                                               GOVERNMENT
                                                                                                                 EXHIBIT
                                                                                                                  2755
                                                                                                                  22 Cr. 240 (AKH)


FOIA Confidential Treatment Requested by Tiger Asia                                                              TIGA-E-00154376



                                                                                                       SDNY_P021_0000000005
